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IN THE UNITED STATES DISTRICT € OURT
FOR THE DISTRICT OF MARYLAND >

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TIMOTHY KOHLHAUS ee,
24809 Trunk Line Road “he Batesac’ .
Henderson, Maryland 21640 | * _— a
Caroline County BYTE cep uy °
*
LORRETTO KOHLHAUS
24809 Trunk Line Road *
Henderson, Maryland 21640
Caroline County * -
Plaintiffs, ELK 1 9 cvo 9 / 4
* Case No.:
v.
*
BOARD OF TRUSTEES OF :
HEALTH BENEFIT FUND -I _ *
LOCAL 298
AFL-CIO LIBERTY PLAN *
201 W. Valley Stream Blvd.
Valley Stream, NY 11580 *
Serve On: *
Board Of Trustees Of
Health Benefit Fund —I *

201 W. Valley Stream bi vd.
Valley Stream, NY 1158

DILLON'S BUS SERVICE, INC. *

7479 New Ridge Road
Hanover, MD 21076 *
Serve Resident Agent: _ *
The Corporation Trust, Inc. |
2405 York Road - Suite 201 i ™
Lutherville Timonium, MD 21093 |
Defendants. | *
* * * * * * * * Fy
COMPLAINT

Plaintiffs Timothy and Lorretto Kohlhaus, by their attorneys, respectfully file this

Complaint alleging that the Defendants violated the Consolidated Omnibus Budget

Reconciliation Act of 1985, as amended (“COBRA”) and state as follows:

 

 
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STATEMENT OF FACTS PERTAINING TO COBRA VIOLATIONS

1, Plaintiff Timothy Kohlhaus (hereinafter “Plaintiff Timothy Kohlhaus”) was
employed with Dillons Bus Service (hereinafter “Dillon”) beginning in 2014 and participated in
the health and dental insurance plan known as local 298 Health Benefit Fund-1 Local 298 AFL-
CIO Liberty Plan (“the Plan”).

2. Plaintiff Lorretto Kohlhaus is Plaintiff Timothy Kohlhaus’s wife and was a
beneficiary in the Plan because Plaintiff Timothy Kohlhaus was a participant in the Plan in early
2014.

3. Defendant Dillon entered into a collective bargaining agreement throughout
Plaintiff Timothy Kohlhaus’s employment with Local 298 AFL-CIO, which included health and
dental insurance.

4, Defendant Dillon had more than twenty (20) fulltime employees throughout the
time that Plaintiff Timothy Kohlhaus was employed there and continuing up to the present time.

5. Defendant Board of Trustees of the Health Benefit Fund-1. (“Defendant Board of
Trustees”) is a third party claims administrator headquartered in New York and doing business in
the State of Maryland.

6, Defendant Board of Trustees administered and performed all of the duties as Plan
Administrator for the Plan.

7. Defendant Board of Trustees was also responsible for sending out COBRA
notices to plan participants and beneficiaries including Plaintiffs Timothy and Lorretto Kohlhaus.

8. Plaintiff Timothy Kohlhaus stopped working and was separated from his

employment with Defendant Dillon on or about July 23, 2018 and his hours were reduced to zero

because he never returned to active employment.

 

 
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9. On September 28, 2018, Plaintiff Timothy Kohlhaus was not terminated for gross
misconduct but was forced to stop working due to severe illness.

10.‘ Plaintiff Timothy Kohlhaus did not receive the required COBRA notice from the
Defendants when he stopped working in July 2018.

11. When Plaintiff Timothy Kohlhaus stopped working in July 2018 and had his
hours reduced to zero that was a qualifying event under the COBRA statute and Defendants were
required to send him the Plaintiffs the COBRA the notice within forty 44 days of his stopping
work, |

12. Plaintiff Timothy Kohlhaus has incurred thousands of dollars of medical bills as a
result of Defendants’ failure to provide the COBRA notice and coverage sooner to him.

13. — Plaintiff Lorretto Kohlhaus never received a COBRA notice from Defendants
although she was entitled to receive such a notice based on her status as a beneficiary in the Plan.

14. ‘Plaintiff Lorretto Kohlhaus was unable to obtain medical treatment as a result of
the loss of health insurance coverage in 2019.

15, On December 27, 2018, Plaintiff Timothy Kohlhaus, alone, received a COBRA
notice that was late and required retroactive payment of multiple health insurance premiums for
no apparent reason. (See Exhibit | — attached to the complaint)

16. Plaintiff Lorretto Kohlhaus was not named in the COBRA notice and continued
never to receive a COBRA notice. |

17. Defendants failed to send a COBRA notice to Plaintiff Lorretto Kohlhaus up to
and including the filing of the instant complaint.

18. Plaintiffs Timothy and Lorretto Kohlhaus have sustained damages as a result of

Defendants’ COBRA violations.

 

 
 

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19. Plaintiffs have incurred medical expenses that have not been reimbursed and were

forced to forego medical treatment due to the absence of COBRA notices.
JURISDICTION & VENUE

20. This Court, pursuant to 28 U.S.C. §1331, has original subject matter jurisdiction
over this matter based on 29 U.S.C. §§ 1161 et seq., COBRA post-employment health insurance
continuation coverage.

21. The unlawful acts occurred in this District.

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22, Defendants do business in this District.

VIOLATIONS OF LAW

COUNT I - COBRA - FAILURE TO PROVIDE TIMELY NOTICE UNDER

23. Plaintiffs Timothy and Lorretto Kohlhaus reiterate, reallege, and incorporate by
reference all allegations contained in this Complaint in their entirety.

24, Plaintiffs Timothy and Lorretto Kohlhaus are and were “covered employees”
within the meaning of COBRA, at all relevant times to this lawsuit.

25. The Defendants’ “group health plan” was a plan within the meaning of COBRA.

26. Plaintiff Timothy Kohlhaus stopped working for Defendant Dillon in July 2018
and his hours were reduced to zero at that time, which is and was a “qualifying event” within the
meaning of 29 U.S.C. §1163(2).

27. Defendants were required to notify Plaintiffs of their right to elect to continue

health insurance coverage for 29 months following Plaintiff Timothy Kohlhaus’s stopping work

and his hours being reduced to zero pursuant to 29 U.S.C. §1162(2)(a)(i).

 

 

 
 

 

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28. Defendants were required to notify Plaintiffs that they had 44 days, from the date
of Plaintiff Timothy Kohlhaus stopping work, to elect COBRA continuation coverage, pursuant
to 29 U.S.C. §1165(a)}(1)(B).

29. Defendants were required to notify Plaintiffs of their right to elect continuation
coverage under COBRA within 44 days of Plaintiff Timothy Kohthaus stopping work and his
hours being reduced to zero pursuant to 29 U.S.C. §§ 1166.

30. Defendants were required to notify Plaintiffs that they had 45 days after the date
of the election of continued coverage in which to make the first premium payment pursuant to 29
U.S.C. §1162(3).

31. Defendants failed to notify Plaintiffs of their right to elect COBRA continuation
coverage in a timely manner from the date that Plaintiff Timothy Kohthaus stopped working.

32. Defendants violated the notice requirements of COBRA.

33. Asa result of Defendants’ violation of federal law, Plaintiffs were not allowed to

continue health insurance coverage in a timely manner and suffered monetary damages and were
unable to obtain appropriate medical treatment.

34. Relief Requested: Plaintiffs respectfully request that: (a) judgment be entered in
their favor; (b) Plaintiffs be awarded the full statutory penalty for each day Defendants violated
COBRA; (c) Defendants be required to pay for and reimburse Plaintiffs for all damages and

losses sustained by Plaintiffs; (d) Plaintiffs|be provided all other relief that may be necessary to

 

make Plaintiffs whole for the wrongs committed against by Defendants; (e) pre- and post-

judgment interest be awarded; and (f) attorney fees and costs be awarded to Plaintiffs.

 

 
 

 

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Respectfully submitted,

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